930 F.2d 34w
    Unpublished DispositionNOTICE: Tenth Circuit Rule 36.3 states that unpublished opinions and orders and judgments have no precedential value and shall not be cited except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.Robert E. MURPHY, Plaintiff-Appellant,v.Klein TOOLS, INC., Previously known as Mathias Klein &amp; Sons,Inc., Defendant-Appellee.
    No. 90-2195.
    United States Court of Appeals, Tenth Circuit.
    April 5, 1991.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    